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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                 )   Chapter 7
     In re:                                                      )
                                                                 )   Case No. 23-10576 (TMH)
     CHRISTMAS TREE SHOPS, LLC, et al.,1                         )
                                                                 )   (Jointly Administered)
                                                                 )
                                        Debtors.                 )   Ref. Docket No. 719
                                                                 )

               CERTIFICATION OF COUNSEL SUBMITTING ORDER REGARDING
                 REJECTION OF BLUE YONDER, INC. CONTRACTS PURSUANT
                     TO SECTION 365(d)(1) OF THE BANKRUPTCY CODE

              The undersigned counsel hereby certifies that:

              1.     On December 13, 2023 (the “Petition Date”), George L. Miller (the “Trustee”), the

duly-appointed Chapter 7 Trustee for the above-captioned debtors (the “Debtors”) filed the Motion

of Chapter 7 Trustee for Order Extending Deadline to Assume or Reject Executory Contracts and

Unexpired Leases of Personal Property Pursuant to Section 365(d)(1) of the Bankruptcy Code

[Docket No. 719] (the “Motion”) with the United States Bankruptcy Court for the District of

Delaware, 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Court”), which

attached a proposed order granting Motion.

              2.     On December 19, 2023, Blue Yonder, Inc. “Blue Yonder”) filed its Limited

Objection to Motion of Chapter 7 Trustee for Order Extending Deadline to Assume or Reject Executory

Contracts and Unexpired Leases of Personal Property Pursuant to Section 365(d)(1) of Bankruptcy

Code [Docket No. 729] (the “Objection”).2




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       The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
       as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
       Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).

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    Capitalized terms not otherwise defined herein shall have their meaning as set forth in the Motion or the Objection.
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        3.       On February 21 2024, the Court held a hearing on the Motion (the “Hearing”) at

which the parties indicated they would submit an agreed proposed order regarding the rejection of

the Agreements.

        4.       Attached hereto as Exhibit A is a proposed Order (the “Proposed Order”) rejecting

the Agreements.

        5.       The Trustee respectfully requests entry of the Proposed Order at the Court’s earliest

convenience.

Dated: February 29, 2024.               PACHULSKI STANG ZIEHL & JONES LLP

                                        /s/ Colin R. Robinson
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                                        Colin R. Robinson (DE Bar No. 5524)
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                                        Counsel to George L. Miller, Chapter 7 Trustee




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